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  16                           UNITED STATES DISTRICT COURT
  17                        SOUTHERN DISTRICT OF CALIFORNIA
  18 DARRYL DUNSMORE, ERNEST                              Case No. 3:20-cv-00406-AJB-WVG
     ARCHULETA, ANTHONY EDWARDS,
  19 REANNA LEVY, JOSUE LOPEZ,                            PLAINTIFFS’ OPPOSITION TO
     CHRISTOPHER NELSON,                                  COUNTY DEFENDANTS’ EX
  20 CHRISTOPHER NORWOOD, and                             PARTE APPLICATION FOR
     LAURA ZOERNER, on behalf of                          EXTENSION OF BRIEFING
  21 themselves and all others similarly situated,        SCHEDULE ON PLAINTIFFS’
                 Plaintiffs,                              MOTIONS FOR PRELIMINARY
  22                                                      INJUNCTION AND
          v.                                              PROVISIONAL CLASS
  23 SAN DIEGO COUNTY SHERIFF’S                           CERTIFICATION
     DEPARTMENT, COUNTY OF SAN                            Judge:     Hon. Anthony J. Battaglia
  24 DIEGO, CORRECTIONAL
     HEALTHCARE PARTNERS, INC.,
  25 LIBERTY HEALTHCARE, INC., MID-
     AMERICA HEALTH, INC., LOGAN
  26 HAAK, M.D., INC., SAN DIEGO
     COUNTY PROBATION DEPARTMENT,
  27 and DOES 1 to 20, inclusive,
  28             Defendants.
       [3905487.4]                                                   Case No. 3:20-cv-00406-AJB-WVG
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       [3905487.4]                                                   Case No. 3:20-cv-00406-AJB-WVG
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   1          So far during 2022, eight people have died at the San Diego County Jail (the
   2 “Jail”), a pace of approximately one death every two weeks—far in excess of the
   3 national average. Plaintiffs’ 35-page brief1 and supporting pleadings seek to address
   4 this immediate and continuing crisis by asking the Court for targeted and narrow
   5 relief in specific areas tied to some of the most egregious constitutional and ADA
   6 deficiencies at the Jail. Dkt. 119-1 (“Plaintiffs’ Motion”). Defendants San Diego
   7 County Sheriff’s Department and County of San Diego (“County Defendants”)2
   8 have been aware since mid-March that Plaintiffs were preparing to move for a
   9 preliminary injunction and class certification to address the dangerous and deadly
  10 conditions at the Jail. An extension of time to respond is not warranted, especially
  11 given the irreparable harms that incarcerated people at the Jail will experience from
  12 any delay caused by extending the briefing and hearing schedule. Sadly, these are
  13 quite literally issues of life and death.
  14 I.       County Defendants Have Been Aware of Plaintiffs’ Motion Since Mid-
              March
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  16          Since filing the Second Amended Complaint on February 9, 2022, Plaintiffs
  17 have sought to advance this case to avoid costly and protracted litigation.
  18 Declaration of Van Swearingen (“Swearingen Decl.”) ¶ 2. On March 15, 2022, after
  19 meeting in person with County Defendants’ counsel, Plaintiffs’ counsel provided
  20 them with proposals to quickly and efficiently address the ongoing harm to people
  21 incarcerated in the Jail. Id. Plaintiffs proposed that the parties stipulate to class
  22
     1
        County Defendants’ application incorrectly asserts that Plaintiffs filed a 45-page
  23 brief.      County Defendants also misstate the scope of Plaintiffs’ Motion, claiming
  24 that     Plaintiffs are attacking “dental care,” “racial tensions,” “access to courts,” and
     many other issues. Defs.’ App. at 3. The dental care, race-based, and access to
  25 courts claims in the SAC are not part of Plaintiffs’ Motion and will be addressed
     later in the case.
  26
     2
  27 theNeither Liberty Healthcare Corporation nor Correctional Healthcare Partners, Inc.,
            other two parties subject to Plaintiffs’ Motion, have moved for or asked
  28 Plaintiffs    for an extension of time to respond to Plaintiffs’ Motion.
     [3905487.4]                                      1                 Case No. 3:20-cv-00406-AJB-WVG
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   1 certification and agree to neutral experts to report on conditions at the Jail (similar to
   2 what has been done in other California county jail federal class actions). Id. In the
   3 same March 15 letter, Plaintiffs informed County Defendants that Plaintiffs were
   4 actively working on class certification. Id. On March 18, 2022, Plaintiffs sent
   5 County Defendants a draft protective order, which they declined to consider, stating
   6 it was premature. Id. ¶ 3, Ex. A. In response, Plaintiffs informed County
   7 Defendants that Plaintiffs may be “moving soon for a preliminary injunction.” Id.
   8 On March 28, 2022, Plaintiffs’ counsel stated that they would continue to work
   9 toward class certification while waiting for County Defendants to respond to the
  10 March 15 proposals.3 Id. ¶ 4. On March 31, 2022, Plaintiffs reiterated this point to
  11 County Defendants’ private law firm counsel, stating that “we will continue our
  12 work on class certification.” Id. ¶ 5, Ex. B.
  13         On April 5, 2022, Plaintiffs’ counsel again wrote to County Defendants’
  14 private law firm counsel, stating: “The extraordinarily high death rate at the jail
  15 requires remedial actions before discovery would ordinarily open. We are preparing
  16 motions to address issues that expose incarcerated people to substantial risk of harm,
  17 including death.” Id. On April 21, 2022, Plaintiffs’ counsel and County
  18 Defendants’ counsel met and conferred by telephone, at which time Plaintiffs’
  19 counsel stated that they would soon be moving for a preliminary injunction and
  20 provisional class certification. Id. ¶ 6. Counsel for County Defendants did not ask
  21 any questions about the content of the motion, nor did counsel raise scheduling
  22 concerns or request any scheduling accommodations. Id.
  23         On April 22, 2022, the parties filed a joint motion requesting to exceed the
  24 regular page limits, stating that “Plaintiffs intend to file motions for a preliminary
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        To date, County Defendants have not responded in writing to Plaintiffs’ proposals
  27 regarding     class certification, neutral expert reports, document preservation practices,
  28 and     protective order language. Swearingen Decl. ¶ 9.
     [3905487.4]                                     2               Case No. 3:20-cv-00406-AJB-WVG
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   1 injunction and for provisional class certification.”4 Dkt. 116 (“Joint Motion”) at 1
   2 (emphasis added). The Joint Motion requested additional pages for all parties
   3 because Plaintiffs’ Motion would seek “to address numerous issues with respect to
   4 Defendants’ policies, procedures, practices, and training related to security, medical
   5 care, mental health care, disability access.” Id. The parties agreed that briefing
   6 those issues would “involve significant factual discussion and legal analysis of
   7 several different claims.” Id. The Joint Motion did not request additional time for
   8 briefing. Id.
   9 II.     The Facts and Much of the Evidence in Plaintiffs’ Motion Are Well-
             Known to County Defendants, and Extending the Briefing Schedule is
  10         Likely to Result in Irreparable Harm
  11         Plaintiffs’ Motion concerns deficiencies in County Defendants’ own policies,
  12 procedures, practices, and training that County Defendants have known about long
  13 before Plaintiffs’ Motion. Many of the reports cited in Plaintiffs’ Motion and the
  14 supporting expert declarations were commissioned by County Defendants and have
  15 been in their possession for years. See, e.g., Dkt. 119-3 at ¶ 9 (2017 National
  16 Commission on Correctional Health Care report); id. at ¶ 8 (2018 Lindsay Hayes
  17 report); id. at ¶ 10 (2020 Community Oriented Correctional Health Services report).
  18 County Defendants have already provided substantive public responses to other
  19 reports cited in Plaintiffs’ Motion. See id. at ¶ 7 (2018 Disability Rights California
  20 report); id. at ¶ 3 (2022 State Audit Report). County Defendants are familiar with
  21 all of these reports, which provide the majority of the factual bases for the relief
  22 sought in Plaintiffs’ Motion. The other materials cited in and attached to Plaintiffs’
  23 Motion, such as the Sheriff’s Department’s own policies and procedures, public
  24 reports from the Citizens’ Law Enforcement Review Board, news articles quoting
  25 Sheriff’s Department officials, and internal records and reports, were either
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     4
        This text in the Joint Motion contradicts County Defendants’ claim that Plaintiffs
  27 “never      disclosed” to County Defendants “that they would also be moving for
  28 provisional      certification.” See Defs.’ App. at 2.
     [3905487.4]                                    3              Case No. 3:20-cv-00406-AJB-WVG
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   1 generated by County Defendants or already in their possession. The County and
   2 Sheriff’s Department are billion-dollar agencies with adequate resources to timely
   3 respond. Plaintiffs’ counsel raised all of these points in their meet and confer emails
   4 about County Defendants’ present request for more time. Swearingen Decl. ¶ 7,
   5 Ex. C.
   6                 In stark contrast, any delay in resolving Plaintiffs’ Motion risks irreparable
   7 harm to Plaintiffs. Last year, eighteen people died at the Jail—a rate that is triple
   8 the national average in jails—amounting to one death less than every three weeks.
   9 Plaintiffs’ Motion at 1. This year, eight people have already died at the Jail in just
  10 over four months, for a rate of approximately one death every two weeks. Id. In
  11 addition to the extraordinary number of deaths, Plaintiffs’ Motion seeks to address
  12 irreparable harms associated with the risk of drug overdose, untreated medical and
  13 mental health emergencies, unsafe and unmonitored housing units, and inaccessible
  14 housing and programs for people with disabilities. Since March, Plaintiffs’ counsel
  15 has been sending emails to County Defendants’ counsel raising serious and urgent
  16 issues at the Jail, including about issues affecting some of the declarants in
  17 Plaintiffs’ Motion. Id. ¶ 8. County Defendants have delayed resolving the crisis in
  18 the Jail for years and have failed to respond to Plaintiffs’ repeated attempts to
  19 facilitate timely resolution of this case. No further delay should be permitted.
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       [3905487.4]                                   4               Case No. 3:20-cv-00406-AJB-WVG
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   1                 For the foregoing reasons, Plaintiffs respectfully request that the Court deny
   2 County Defendants’ Ex Parte Application and keep the present briefing schedule. If
   3 the Court is inclined to provide County Defendants more time to respond, Plaintiffs
   4 respectfully ask that the hearing date remain as set by the Court.
   5
   6 DATED: May 5, 2022                            Respectfully submitted,
   7
                                                   ROSEN BIEN GALVAN & GRUNFELD LLP
   8
                                                   By: /s/ Van Swearingen
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